                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                             GREENEVILLE DIVISION
  KAREN BROYLES et al.,                   )
                                          )
           Plaintiffs,                    )                                    2:20-CV-245
                                          )
       vs.                                )
                                          )
  RAGINGBULL.COM, LLC,                    )
                                          )
           Defendant.                     )
                                          )

                                             ORDER
        Proposed Intervenor Peter Keith, Esq., in his capacity as the Court-Appointed Receiver for

  Defendant, filed a Notice [Doc. 39] requesting his Motion to Intervene and to Stay Proceedings

  [Doc. 21] be withdrawn or stricken as required by an Order entered by the United States District

  Court for the District of Maryland directing that he cease participation and involvement in any

  legal action initiated pursuant to his temporary receivership of RagingBull.com [Doc. 39-1].

  Proposed Intervenor’s request to withdraw his Motion is GRANTED and the Motion to Intervene

  and Stay Proceedings [Doc. 21] is deemed WITHDRAWN.

        Proposed Intervenor’s Counsel of Record, Christopher E. Thorsen, Nicholas W. Diegel, the

  law firm Baker, Donelson, Bearman, Caldwell & Berkowitz PC, Meghan K. Casey, Mark S.

  Saudek, and the law firm Gallagher Evelius & Jones LLP, filed a Motion to Withdraw as Attorney

  [Doc. 40], pursuant to Local Rule 83.4. Given that Proposed Intervenor has been permitted to

  withdraw his request to intervene, the Motion [Doc. 40] is GRANTED it is hereby ORDERED

  that his counsel of record are permitted to withdraw and are relieved of further obligation in this

  matter.

        SO ORDERED:


                                                        s/Cynthia Richardson Wyrick
                                                        United States Magistrate Judge

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